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OFFICE OF THE MONITOR
NUNEZ, ET AL. V. CITY OF NEW YORK, ET AL.                                                            Steve J. Martin
                                                                                                             Monitor

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                                                                                              July 17, 2024

Via Email

    Commissioner Lynelle Maginley-Liddie
    Department of Correction
    75-20 Astoria Boulevard, Suite 350
    East Elmhurst, NY 11370



Dear Commissioner Maginley-Liddie,

         We write in response to your request, pursuant to the Nunez Court Orders, 1 for updated

advice and feedback from the Monitoring Team on how the requirements of Local Law 42

(“LL42”) may impact the Department’s ability to comply with the Nunez Court Orders. This

letter shares some additional advice and feedback since the Monitoring Team’s January 12, 2024

letter, but as described below, we believe further consultation is necessary in order to create a

more detailed framework for considering LL42’s implications for the Nunez Court Orders.




1
  See, Consent Judgment, § XX, ¶¶ 24 and 25 and June 13, 2023 Order, § I, ¶ 5. Combined, these
provisions: (1) permit the Department to request the Monitor provide technical assistance or consultation
on the Department’s efforts to implement the requirements of the Nunez Court Orders, (2) permit the
Department to request the Monitor provide a written response to a request regarding the Department’s
compliance with the Nunez Court Orders, and (3) requires the Department to proactively consult with the
Monitor on any policies or procedures that relate to the compliance with the Nunez Court Orders in order
to obtain the Monitor’s feedback on these initiatives. The Monitor has addressed similar issues in the
past. See, for example, the Monitor’s March 5, 2018 Report (dkt. 309), the Monitor’s October 31, 2018
(dkt. 319) letter to the Court, and the Monitor’s June 30, 2022 Report (dkt. 467) at pgs. 22 to 27.
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          Collectively, the Monitoring Team has over 100 years’ experience in developing safe

alternatives to solitary confinement and in helping jurisdictions to formulate reasonable

operational practices that ensure adequate protection from harm for incarcerated individuals and

staff who work in carceral settings. The Monitoring Team also has extensive expertise and

understanding of the Department’s operations. As you know, the Nunez Court Orders require the

Monitor to approve policies that impact on a variety of issues, many of which are affected by the

various requirements of LL42. The Monitoring Team believes more detailed discussions are

necessary before the Monitor can make any final determinations regarding which policies and

procedures required by LL42 (and the corresponding Board of Correction rules that were

recently passed) would or would not receive Monitor approval as required by the Nunez Court

Orders.

          This letter first includes background on LL42, followed by a candid assessment of the

current limitations that, in our view, indicate that attempting to implement LL42 at this time

would be ill-advised as it would be dangerous and would subject incarcerated individuals and

staff to further risk of harm. Next, this letter addresses potential conflicts between LL42 and the

Nunez Court Orders and advises that further analysis is needed to provide a fulsome account of

each of LL42’s requirements that may conflict with the Monitoring Team’s expert opinions

regarding sound correctional practice, facility safety, and management of persistently violent

detainees. Finally, the letter recommends next steps for addressing any potential conflicts and

potential motion practice before the Court.

Background

          The City Council passed Local Law 42 on December 20, 2023. The bill was subsequently

vetoed by the Mayor of New York on January 19, 2024, but was then signed into law by the City


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Council on January 30, 2024, overriding the Mayor’s veto. LL42 bans the use of solitary

confinement, imposes 14-hours of mandatory out of cell time for all incarcerated individuals, and

sets additional requirements for the use of restrictive housing, de-escalation, emergency lock-ins,

and restraints and specific conditions for special housing units (e.g., mental health units,

contagious disease units, housing for people who are transgender or gender non-conforming,

protective custody units, and housing to promote school attendance). The implementation

deadline for LL42 is July 28, 2024.

           In early January 2024, pursuant to the Nunez Court Orders, 2 you requested the

Monitoring Team’s advice and feedback on how the requirements of LL42 may impact the

Department’s ability to comply with the Nunez Court Orders. On January 12, 2024, the

Monitoring Team provided its assessment of LL42’s implications for the City’s and Department’s

efforts to address the unsafe conditions in the jails, to protect individuals from harm, and to

implement sound correctional practices, all of which are necessary to comply with the Nunez

Court Orders. Subsequently, the Monitoring Team has had multiple discussions with your office

and other Department officials regarding these matters.

           In late May/early June 2024, the Department advised the Monitoring Team (and

subsequently the Parties to the Nunez litigation) that it was considering seeking relief from

LL42’s requirements via the Court in the Nunez matter given the Department’s concerns that

LL42’s requirements may impede the Department’s ability to comply with the Nunez Court

Orders in a number of key areas. Likewise, the City advised the Court of its intentions in a letter

dated June 5, 2024 (dkt. 724). Following the submission of the City’s letter to the Court, the



2
    Id.


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Monitoring Team and the Nunez Parties met and conferred on June 18, 2024. Subsequently, the

Monitoring Team has had numerous discussions with the Department and representatives for the

Plaintiff Class and the Southern District of New York regarding these matters. 3

Summary of Local Law 42 & Department’s Ability to Implement Local Law 42

        Local Law 42 is a well-intentioned effort to ensure that no person in the Department’s

custody is subjected to solitary confinement. 4 Eliminating solitary confinement is unquestionably

necessary and important for ensuring the humane treatment of people in custody. LL42 also

includes many operational requirements that go beyond eliminating solitary confinement.

Moreover, LL42 includes unprecedented provisions regarding the management of incarcerated

individuals following serious acts of violence and eliminates necessary discretion by correctional

management in a manner that could actually result in an increased risk of harm to other

incarcerated individuals and staff. The Monitoring Team has grave concerns about the

Department’s ability to safely implement LL42, particularly given the timeline. Among these

concerns are:

        1. Eliminates Essential and Critical Managerial Discretion. An overarching concern

            of the Monitoring Team is that the requirements of LL42 impose absolute

            prohibitions on correctional management that remove all discretion in a number of

            particularized circumstances where some degree of latitude and discretion in

            judgement to manage immediate threats to security are in fact necessary. For



3
  Lawyers for the City Council have scheduled a meeting with the Monitoring Team that will take place in
the coming days.
4
 For purposes of this communication, the Monitoring Team adopts the United Nations definition of
solitary confinement as 22 hours or more per day without meaningful human contact. See, the United
Nations Standard Minimum Rules for Treatment of Prisoners, Rule 44.


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    example, unqualified release from de-escalation confinement in 4 hours; a universal

    4-hour limitation on emergency lock-ins; and a requirement that, “in all

    circumstances” the Department must discharge an incarcerated person from restrictive

    housing within 30 days. Other provisions in LL42 are ostensibly intended to provide

    safeguards to those placed in restrictive housing, but absolutely bar correctional

    managers from exercising necessary discretion to address the risk of harm that may

    be present to the incarcerated individual in question, other incarcerated individuals,

    and staff. There is simply no question that situations arise in correctional settings

    where an immediate risk of harm must be addressed regardless of arbitrarily imposed

    limitations that preclude management from addressing the immediate security threat.

    In application, these provisions that preclude any discretion will in some instances put

    other incarcerated individuals and staff at greater risk of harm.

 2. Lack of a Proper Foundation to Support Implementation. The Monitor’s Reports

    to date have repeatedly found that the Department does not have the necessary

    foundation to support the basic reforms required by the Nunez Court Orders. Without

    reliable adherence to basic security practices, robust protocols for properly deploying

    and supervising staff, strategies to appropriately manage the incarcerated population,

    and effective staff accountability, the Department is at present not equipped to safely

    implement LL42.

 3. Truncated Implementation Timeline. As the current state of compliance with the

    Nunez Court Orders has brought into stark relief, simply articulating a set of

    requirements does not create the capacity to properly implement those requirements.

    In the Monitoring Team’s experience, it is not uncommon for jurisdictions to need a




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    considerable amount of time to lay the groundwork to develop and implement more

    complex reforms. For example, the Use of Force Directive required by the Consent

    Judgment was finalized over a year before it was implemented in order to ensure that

    ancillary supports were properly prepared, and that staff received necessary training

    on any resulting changes to procedures. Even with a lengthy implementation timeline,

    the Department has struggled to properly implement the Use of Force Directive’s

    requirements. Whether preparing to implement a court-ordered requirement or a new

    law, the planning tasks remain the same: evaluating the operational impact, updating

    policies and procedures, updating the physical plant, determining the necessary

    staffing complement, developing training materials, and providing training to

    thousands of staff, all of which must occur before the changes in practice actually go

    into effect. Rules supporting LL42’s implementation were passed by the Board of

    Correction on June 25, 2024, just one month before LL42 is scheduled to go into

    effect. As noted above, the Department does not have the requisite foundation to

    undertake most of the necessary planning tasks, and attempting to do so in just one

    month’s time all but guarantees that the planning will not be as comprehensive or

    thoughtful as the scope and magnitude of the changes require. Further, the necessary

    training simply cannot be developed and deployed within such a time frame. The

    Monitoring Team has long advised that attempting to make significant changes within

    unreasonable time frames does not support the development of sustainable reforms

    and often creates a greater risk of harm.

 4. The Department is Not Prepared. Given the Department’s lack of foundation to

    implement LL42 and the truncated timeline for implementation outlined above,




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           unsurprisingly, the Department’s leadership has reported the Department is not ready

           to implement this law. More specifically, the Department has not developed the

           necessary policies, procedures or training to support the requirements of LL42 and

           thus is not in a secure position to attempt implementation. The fact that those who

           operate the facilities state they are unprepared and also believe certain aspects of

           LL42 to be unsafe cannot be ignored, and only serves to further heighten the

           Monitoring Team’s concerns regarding the ongoing risk of harm and the safety of

           those in the Department’s custody and those working in the Department’s facilities.

       Although the nuances in each jurisdiction differ, the universal reality is that increasing

facility safety is a complicated endeavor rife with potential pitfalls. When efforts to reform

practices are subject to unreasonably short and absolute timelines and include other requirements

that may run counter to standard and sound correctional practice, well-intended reforms can lead

to unintended consequences that jeopardize, rather than protect, the safety of incarcerated

individuals and staff. Under the current conditions and level of readiness, attempting to

implement a complex law that fundamentally changes many of the Department’s standard

practices and that requires changes that conflict with standard sound correctional practices would

increase the risk of harm to incarcerated individuals and staff and therefore would be dangerous

for those incarcerated and work in the jails.

LL42’s Potential Conflicts with Nunez Requirements

       Under the Nunez Court Orders, the Department has an obligation to implement sound

correctional practices and to obtain the Monitor’s approval of key policies and procedures. This




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includes requirements related to security practices, 5 the use of restraints, 6 escorts, 7 lock-in and

lock-out time, 8 de-escalation, 9 initial procedures following a serious act of violence 10 and

subsequent housing strategies. 11

           The question of whether the Department can implement LL42 safely and comply with the

Nunez Court Orders is of the utmost importance because of the direct impact on the safety of all

those incarcerated and working in the jails. With respect to the elimination of solitary

confinement, the Department reports that it does not utilize solitary confinement (i.e., 22 hours or

more per day in a locked cell and without meaningful human contact), but a number of the

provisions in LL42 would drastically alter many of the Department’s practices. For instance,

several of LL42’s requirements would impact the Department’s core strategy for addressing

violent misconduct—its restrictive housing program. Furthermore, the Department routinely

utilizes practices (e.g., restraint, de-escalation, mental health units, protective custody, to name a

few) that currently include requirements aligned with standard sound correctional practice but

that differ from the requirements of LL42, in some cases significantly and dangerously. Certain

programs and practices currently in use or that are under development at the Department would

require significant alteration, or in some instances would need to be eliminated, as a result of the

requirements of LL42.



5
  See Action Plan § D, ¶ 3 in which the Monitor may direct the Department to refine certain security
initiatives to ensure compliance with security requirements of the Action Plan.
6
    See Consent Judgment, § IV, ¶ 3(p).
7
    See Action Plan, § D, ¶ 2(f) and August 10, 2023 Order, § I, ¶ 3.
8
    See August 10, 2023 Order, § I, ¶ 4.
9
    See First Remedial Order, § A, ¶ 3 and Action Plan, § D, ¶ 2(b).
10
     See Second Remedial Order ¶ 1(i)(e), Action Plan, § D, ¶ 2(h)
11
     See Action Plan, § E, ¶ 4.


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       In January 2024, the Monitoring Team provided the Department with a list of potential

conflicts between the requirements of LL42 and the requirements of Nunez Court Orders,

stressing that implementing LL42’s requirements could undercut the Department’s ability to

achieve compliance in Nunez. Given the breadth and complexity of LL42’s requirements,

extensive consultation with, and ultimately approval from, the Monitor is necessary in order to

ensure that the Department’s approach to satisfying the Nunez requirements is aligned with

sound correctional practice. 12

       Recently, the City and the Department engaged the Monitoring Team to explore these

issues and potential conflicts in more detail. Fully understanding LL42’s requirements and the

BOC’s respective rules (which were only just passed) in each of the areas listed above (and

others that the Monitoring Team may yet identify) and then comparing them to the respective

requirements of the Nunez Court Orders is an exceedingly complicated undertaking. Each facet is

complex and nuanced and must be dissected among those with operational expertise and

experience with advancing reform in order to determine where conflicts may exist. If LL42

requires a certain practice that the Monitor determines is not consistent with the requirements of

the Nunez Court Orders (e.g. the practice is not consistent with sound correctional practice or

creates heightened risk of harm), the Monitor may not approve the relevant Department policy,

and thus the Department will remain out of compliance with the relevant aspect of the Nunez

Court Orders.




12
 Consultation with the Monitor is required by over 80 provisions in the Nunez Court Orders.
Consultation is also required by the Court’s June 13, 2023 Order, § I, ¶ 5.


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Recommended Next Steps

        The work to identify the practices at issue has started, but extensive discussion and

additional time are needed to complete this assessment. The Department and the Monitoring

Team must continue to work to identify the requirements of LL42 that, if implemented, may

conflict with the Nunez Court Orders. Once a more detailed framework of the LL42 requirements

that conflict with the Nunez Court Orders has been created, the Nunez Parties, counsel for the

City Council, and the Monitoring Team must meet and confer to determine how to best address

the divergence. Given the complexity of the task and the fact that the practices at issue have a

direct impact on facility safety, the process must go forward using a detailed, methodical

approach. This process will take time in order to arrive at decisions that are grounded in sound

correctional expertise and that navigate the complex jurisdictional issues. In addition, several

other important legal matters are currently pending before the Court that require the attention of

the Department, the Nunez Parties, and the Monitoring Team, which must be recognized and

accounted for as part of this process. 13 Accordingly, the Monitoring Team recommends that the

work outlined in this letter is undertaken between now and October 24, 2024, at which time the

Court can be updated on the status of these issues and the necessity for any potential motion

practice.

        We look forward to working with you and your team on these important matters.

                                                Sincerely,

                                                s/ Steve J. Martin
                                                Steve J. Martin, Monitor
                                                Anna E. Friedberg, Deputy Monitor

13
  For example, the Court has directed the Parties and the Monitoring Team to meet and confer in late
August and early September on matters related to the Motion for Contempt. See July 11, 2024 Court
Order (dkt. 751).


                                                   10
